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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-CV-60450-RS

 MARCELIN LIBERAL, individually and on
 behalf of all others similarly situated,

        Plaintiff,
 v.

 HEALTHCARE REVENUE RECOVERY
 GROUP, LLC, and MEMORIAL REGIONAL
 HOSPITAL SOUTH AUXILIARY, INC.,

       Defendants.
 _______________________________________/

                                   ORDER TO SHOW CAUSE

        This cause is before the Court upon a sua sponte examination of the record. On February

 28, 2022, Plaintiff filed his Complaint [DE 1] against Defendants. Defendant Memorial Regional

 Hospital South Auxiliary, Inc. was served with the Complaint on April 1, 2022 [DE 11].

 Accordingly, Defendant Memorial Regional Hospital South Auxiliary, Inc.’s Response to

 Plaintiff’s Complaint was due on or before April 22, 2022. A review of the record indicates that

 Defendant Memorial Regional Hospital South Auxiliary, Inc. has not responded to the Complaint,

 nor has Plaintiff moved for a Clerk’s Default or otherwise further pursued the matter against this

 Defendant. Accordingly, it is hereby,

        ORDERED that on or before January 27, 2023, Plaintiff shall either move for entry of a

 Clerk’s Default against Defendant Memorial Regional Hospital South Auxiliary, Inc., or show

 cause why the claims against this Defendant should not be dismissed for failure to prosecute.

 Failure to timely respond to this Order may result in dismissal of the claims without further notice.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 17th day of January 2023.
